                                       IN THE UNITED STATES DISTRICT COURT
                                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                                STATESVILLE DIVISION
                                         CIVIL ACTION NO. 5:14CR67 -RLV-DCK
               UNITED STATES OF AMERICA,                            )
                                                                    )
                                 Plaintiff,                         )
                                                                    )
                   v.                                               )         NOTICE OF POSSIBLE
                                                                    )         UPWARD DEPARTURE
                                                                    )
               DASHAWN RAQUAN HUNT (1),                             )
                DAVON SANTARIO McKNIGHT (2)                         )
                        Defendant.                                  )
                                                                    )

                         THIS MATTER IS BEFORE THE COURT pursuant to Rule 32 of the Federal Rules of

              Criminal Procedure. Rule 32(h) requires that,

                         [b]efore the court may depart from the applicable sentencing range on a ground not
                         identified for departure either in the presentence report or in a party’s prehearing
                         submission, the court must give the parties reasonable notice that it is contemplating
                         such a departure. The notice must specify any ground on which the court is
                         contemplating a departure.

              See Fed. R. Crim. Pro. 32(h). The Court HEREBY NOTIFIES the parties that it is contemplating

              an upward departure in this matter based on “the nature and circumstances of the crimes committed

              by the defendants.” See United States Sentencing Commission, Guidelines Manual, §4A1.3(a)(4)

              (Nov. 2015).


Signed: March 31, 2016




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